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Dixie Elixirs “Unfit for Human Consumption?”

21 November 2013 From Martin A. Lee, ProjectCBD.org:

Tamara Wise, the former chief scientist at Medical Marijuana Inc and Dixie Elixirs, denounces the company and their products in her Nov. 20 facebook
post. Wise wrote:

“I'm tired of so called CBD companies claiming that what they provide is medicine. Anyone using a CBD from hemp product please be aware
of what you’re actually getting b/c it is not what you think. These formulations start with a crude and dirty hemp paste (contaminated with
microbial life! I have seen this and these organisms decompose the paste. The paste perhaps even contains residual solvent and other toxins as
the extraction is done in China ) made in a process that actually renders it unfit for human consumption. What these companies are doing is
criminal and dangerous. In fact MJNA’s RSHO is literally just this hemp paste diluted in hemp seed oil. No refinement at all!!! And what Dixie
Botanicals is offering is beyond disturbing. I cannot keep quiet any more. And since I formulated most of these products as head of Dixie
science, | feel responsible for spreading the truth. I left Dixie for ethical reasons but it is not enough to just walk away. These frauds need to be
exposed for what they are. Look out for my tell all article coming soon and feel free to contact me directly with questions as it is time to blow
the whistle. Let’s keep this industry pure and safe.” — Tamar Wise, formerly head of Dixie Science.

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"[ make shoes for everyone, even you, while I still go barefoot." —Bob Dylan

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